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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 STATE OF COLORADO, et al.,


                                Plaintiffs,              Case No. 1:20-cv-03715-APM
                                                         HON. AMIT P. MEHTA
 v.


 GOOGLE LLC,


                                Defendant.


PLAINTIFF STATES’ REPLY IN SUPPORT OF THEIR SUPPLEMENTAL RESPONSE
      TO CERTAIN QUESTIONS OF THE COURT AT ORAL ARGUMENT

          Google’s response confirms again the existence of many factual disputes that require

denial of Google’s summary judgment motions. For example,



                         Google Response (ECF No. 587) at 4 (emphasis added). That is simply

untrue.

                                              (Ex. A).        small scale is a result of alleged

Google conduct, including Google’s search-distribution agreements. Joint Opposition at 6-8

(“Google’s Dominance Creates Significant Scale Advantages”). Thus,                decision is tightly

connected to Google’s alleged conduct and illustrates how Google’s conduct impedes the ability

of Google’s rivals to build stronger partnerships with SVPs.




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